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                                  UNITED STATES JUDICIAL PANEL
                                               on
                                   MULTIDISTRICT LITIGATION



    IN RE: PACKAGED SEAFOOD PRODUCTS
    ANTITRUST LITIGATION                                                                       MDL No. 2670



                                      (SEE ATTACHED SCHEDULE)
                                                                                               Jul 06 2018
                            CONDITIONAL TRANSFER ORDER (CTO −12)
                                                                                                 s/ robertc




    On December 9, 2015, the Panel transferred 3 civil action(s) to the United States District Court for
    the Southern District of California for coordinated or consolidated pretrial proceedings pursuant to
    28 U.S.C. § 1407. See 148 F.Supp.3d 1375 (J.P.M.L. 2015). Since that time, 26 additional action(s)
    have been transferred to the Southern District of California. With the consent of that court, all such
    actions have been assigned to the Honorable Janis L. Sammartino.

    It appears that the action(s) on this conditional transfer order involve questions of fact that are
    common to the actions previously transferred to the Southern District of California and assigned to
    Judge Sammartino.

    Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
    Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
    Southern District of California for the reasons stated in the order of December 9, 2015, and, with the
    consent of that court, assigned to the Honorable Janis L. Sammartino.

    This order does not become effective until it is filed in the Office of the Clerk of the United States
    District Court for the Southern District of California. The transmittal of this order to said Clerk shall
    be stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
    Panel within this 7−day period, the stay will be continued until further order of the Panel.



         Jul 06, 2018                                      FOR THE PANEL:



                                                           Jeffery N. Lüthi
                                                           Clerk of the Panel
                                                                                Jul 06, 2018




                                                               s/ R. Chapman
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     IN RE: PACKAGED SEAFOOD PRODUCTS
     ANTITRUST LITIGATION                                                    MDL No. 2670



                       SCHEDULE CTO−12 − TAG−ALONG ACTIONS



       DIST     DIV.     C.A.NO.      CASE CAPTION


     OHIO NORTHERN

       OHN       1       18−01415     Reo v. Bumble Bee Foods, LLC   Opposed 7/5/18
       OHN       1       18−01416     Reo v. Bumble Bee Foods, LLC
